    Case 17-64941-sms                     Doc 46          Filed 01/29/21 Entered 01/29/21 16:03:02                                  Desc Main
                                                          Document     Page 1 of 3


 Fill in this information to identify your case:


 Debtori          ROGER          CARROLL BURGESS
                    First Name             Middle Name                  Last Name

 Debtor 2                                                                                           1%0I it?
 (Spouse, If thing) First Name             Middle Name                  Last Name                           0,S,
                                                                                                          4I/anla,8a4r1/,0/9/
 United States Bankruptcy Court for the: Northern District of Georgia                                              Georgia Co
 Case number 17-64691                                                                                   14111.2 9                     El Check if this is an
                    (If known)                                                         4 .0            Regina     2021                     amended filing
                                                                                                               Thomas,
                                                                                                                         Clerk
                                                                                                                •
Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistica enformation                                                                             12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are tiling amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


               Summarize Your Assets


                                                                                                                                   Your assets   -      •
                                                                                                                                                          ,
                                                                                                                                  :vgiuw:of3iiiit: you bikn
I. Schedule A/B: Property (Official Form 106A/B)
   la. Copy line 55, Total real estate, from Schedule A/B
                                                                                                                                                       0.00


   lb. Copy line 62, Total personal property, from Schedule NB                                                                                 55,215.70

   lc. Copy line 63, Total of all property on Schedule A/B                                                                                     55,215.70


Part 2:       Summarize Your Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Properly (Official Form 1060)
                                                                                                                                                       0.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                       0.00
   3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

   ail Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6J of Schedule ELF                                           14,250.00
                                                                                                                                   + $


                                                                                                         Your total liabilities                14,250.00


Part 3:       Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                                 2,458.33
   Copy your combined monthly Income from line 12 of Schedule I

5, Schedule J: Your Expenses (Official Form 106J)                                                                                                              i
   Copy your monthly expenses from line 22c of Schedule J                                                                              $         2,425,00      1
                                                                                                                                                               I
                                                                                                                                                               I
                                                                                                                                                               J

Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
             Case 17-64941-sms                    Doc 46          Filed 01/29/21 Entered 01/29/21 16:03:02                               Desc Main
                                                                  Document     Page 2 of 3
      Debtor 1      ROGER            CARROLL BURGESS                                               Case number (iricnovm) 17-64691
                     Firat Name   Middle Name         Last Name




                    Answer These Questions for Administrative and Statistical Records

      6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          El Yes
 I.
      7. What kind of debt do you have?

          10 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         El Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
             this form to the court with your other schedules.



      8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
         Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     2,458.33

  taw




      9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




           Fretrt


         9a.Domestic support obligations (Copy line 6a.)                                                                     0.00

         9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                            0.00

         9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                  0.00


          9d.Student loans. (Copy line 6f.)                                                                                  0.00

          9e.Obligations arising out of a separation agreement or divorce that you did not report as                         0.00
             priority claims. (Copy line 6g.)

          9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)        +$                   0.00

          9g.Total. Add lines 9a through 9f.                                                                                 0.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                              page 2 of 2
    Case 17-64941-sms          Doc 46     Filed 01/29/21 Entered 01/29/21 16:03:02          Desc Main
                                          Document     Page 3 of 3

                               UNITED STATES BANKRUPTCY COURT

                                 NORTHERN DISTRICT OF GEORGIA                    •

                                           ATLANTA DIVISION


IN RE:   ROGER CARROLL BURGESS               )     Case No:    17-64941
                             .               )
                                                   Chapter     7   .


               Debtor(s)

                                           CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the 29 day of JANUARY, 2021, I served a copy of

ADMENDED CREDITOR LIST AND SCHEDULES A/B/C/E/F, STATEMENT OF INTENT,106Sum, 106D
which was filed in this bankruptcy matter on the 29     day of JANUARY , 20 21.




Mode of service (check one):               C) MAILED                   0   HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):
Office of the United States Trustee                     S. gregory Hayes
362 Richard B, Russell Building                        Hayes   Financial Consulting
75 Ted Turner Drive, SW                                 Suite 555
Atlanta, GA 30303                                       2964 Peachtree Road
                                                        Atlanta, GA 30305


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUEAP4D CORRECT.


Dated: 01/29/2021                                     Signature:

                                                      PrintediName:    ROGER CARROLL BURGESS

                                                      Address: 2612 LELAND DRIVE
                                                               AUGUSTA GA 30909



                                                      Phone: 404-809-0288

 (Generic Certificate of Service — Revised 4/13)
